       Case 1:22-cr-00227-DMT           Document 65        Filed 03/20/23      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )       INTERSTATE AGREEMENT ON
                                              )       DETAINERS ORDER
       vs.                                    )
                                              )       Case No.: 1:22-cr-227
Zoey Brook Brechlin,                          )
                                              )
               Defendant.                     )


       On March 20, 2023, Defendant made her initial appearance in the above-entitled action and

was arraigned. AUSA Rick Volk appeared on behalf of the United States. Attorney Steven Balaban

appeared on defendant’s behalf.

       Prior to her initial appearance, Defendant was incarcerated by the State of North Dakota at

the Dakota Women’s Correctional Rehab Center in New England, North Dakota. After the

Indictment in this case was returned and an arrest warrant issued, a detainer was filed by the United

States with the North Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act

(“IADA”), Defendant’s appearance before this court for her initial appearance and arraignment was

secured by a writ of habeas corpus ad prosequendum.

       At her initial appearance and arraignment, Defendant was advised of her rights under the

Interstate Agreement on Detainers Act (“IADA”) to continued federal custody until the charges set

forth in the Indictment are adjudicated. Defendant waived in open court the anti-shuttling provisions

of the IADA and agreed to remain in the custody of the State of North Dakota (the “sending state”

under the IADA) at the Dakota Women's Correctional Rehab Center pending further proceedings

in this case initiated by the United States (the “receiving state” under the IADA).


                                                  1
        Case 1:22-cr-00227-DMT          Document 65        Filed 03/20/23      Page 2 of 2




       The court accepts Defendant’s waiver, finding that it was made knowingly and intelligently,

voluntarily, and upon advice of counsel. Accordingly, the court ORDERS that Defendant be

returned to and housed in the “sending state” under the IADA pending further proceedings or until

further order of the court Further, pursuant to Defendant’s waiver, the return of Defendant to her

place of incarceration pending trial shall not be grounds under the IADA for dismissal of the charges

set forth in the Indictment.

       Dated this 20th day of March, 2023.

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court




                                                 2
